                     Case 18-12491-CSS          Doc 170        Filed 11/29/18         Page 1 of 10



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                                   Chapter 11

PROMISE HEALTHCARE GROUP, LLC, et al.1                                   Case No. 18-12491 (CSS)

                         Debtors.                                        Jointly Administered

                                                                         Re: Docket Nos. 12 and 14


       OMNIBUS OBJECTION OF OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS TO (I) MOTION OF THE DEBTORS FOR ENTRY OF FINAL
         ORDERS (I) AUTHORIZING THE DEBTORS TO (A) PAY CERTAIN
        PREPETITION WAGES, BENEFITS AND OTHER COMPENSATION,
       AND (B) CONTINUE EMPLOYEE COMPENSATION AND EMPLOYEE
       BENEFITS PROGRAMS, AND (II) GRANTING RELATED RELIEF AND
        (II) MOTION OF THE DEBTORS FOR ENTRY OF FINAL ORDER (I)
        AUTHORIZING THE DEBTORS TO PAY OR HONOR PREPETITION
    OBLIGATIONS TO CERTAIN CRITICAL VENDORS AND (II) AUTHORIZING
    BANKS TO HONOR AND PROCESS CHECKS AND TRANSFERS RELATED TO
                  SUCH CRITICAL VENDORS OBLIGATIONS

           The Official Committee of Unsecured Creditors (the “Committee”) of Promise

Healthcare Group, LLC, et al. (collectively, the “Debtors”), by and through its undersigned

1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of
Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages,
L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of
California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise
Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc.
(2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of
Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659),
Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of
Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise
Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc.
(1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius Hospital Corporation #1 (2766),
St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare 2, LLC (8861), Success
Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise
Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc.
(7766). The mailing address for the Debtors, solely for purposes of notices and communications, is 999 Yamato
Road, 3rd FL, Boca Raton, FL 33431.



DOCS_DE:222108.1 72551/002
                     Case 18-12491-CSS       Doc 170       Filed 11/29/18        Page 2 of 10



counsel, hereby files this omnibus objection (the “Objection”) to (i) the Motion of The Debtors

For Entry of Final Orders (I) Authorizing The Debtors to (A) Pay Certain Prepetition Wages,

Benefits and Other Compensation, and (B) Continue Employee Compensation and Employee

Benefits Programs, and (II) Granting Related Relief [Docket No. 14] (the “Wages Motion”) and

(ii) the Motion of the Debtors for Entry of Final Order (I) Authorizing the Debtors to Pay or

Honor Prepetition Obligations to Certain Critical Vendors and (II) Authorizing Banks to Honor

and Process Checks and Transfers Related to Such Critical Vendors Obligations [Docket No.

12] (the “Critical Vendor Motion”).2 In support of the Objection, the Committee respectfully

represents as follows:

                                    PRELIMINARY STATEMENT

           The Committee objects to the Debtors’ request in the Wages Motion to pay the

outstanding pre-petition Employee Obligations3 to the extent such amounts exceed the Priority

Caps (defined below) contained in sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code.

The Priority Caps are designed to strike a balance between paying a debtor’s employees for pre-

petition services and maximizing a debtor’s estate for the benefit of its unsecured creditors. As

such, the Debtors should not be entitled to pay the Employee Obligations on a priority basis in

amounts that exceed the Priority Caps, as doing so will negatively impact the unsecured creditors

in this case. Further, imposition of the Priority Caps will not unfairly harm the Debtors’

employees because “the majority of the unpaid Employee Obligations [are entitled] to priority




2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Wages Motion or
Critical Vendor Motion, as applicable.

3
 As defined in the Wages Motion, “Employee Obligations” includes, among other things, Wages, amounts owing
under Incentive Programs, Paid Time Off and Employee Benefits. Wages Motion, ¶¶ 8-19; 23-30.



DOCS_DE:222108.1 72551/002
                                                2
                     Case 18-12491-CSS        Doc 170     Filed 11/29/18     Page 3 of 10



treatment” and thus will already fall within the Priority Caps. Wages Motion, ¶ 35 (emphasis

added).

           The Wages Motion also requests authorization to pay a $6 million prepetition IRS claim

(the “IRS Claim”). As set forth further below, the Committee has not been provided an

opportunity to investigate the IRS Claim or any claims or indemnities related thereto. Further,

the Debtors have not provided any case law or basis for payment of the IRS Claim outside of a

chapter 11 plan. The Committee therefore objects to the payment of the IRS Claim pursuant to

the Wages Motion.

           With respect to the Critical Vendor Motion, the Committee requests that the Debtors add

language to the final order, as set forth below, allowing the Committee the opportunity to review

and object, if necessary, to proposed payments to Critical Vendors in amounts that exceed

$50,000. This process will help maximize the value of the Debtors’ estates for the benefit of all

creditors.

                                               BACKGROUND

           1.          On November 5, (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code.

The Debtors continue to operate their businesses and manage their properties as debtors-in-

possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

           2.          The United States Trustee formed the Committee on November 14, 2018 [Docket

No. 91]. The Committee will seek retention of Sills Cummis & Gross P.C. and Pachulski Stang

Ziehl & Jones as co-counsel to the Committee.




DOCS_DE:222108.1 72551/002
                                                3
                     Case 18-12491-CSS        Doc 170       Filed 11/29/18        Page 4 of 10



           3.          On the Petition Date, the Debtors filed the Wages Motion to approve, among

other things, payment of certain prepetition wages, benefits and other compensation, as well

payment of the IRS Claim.

           4.          On the Petition Date, the Debtors also filed the Critical Vendor Motion. Through

the Critical Vendor Motion, the Debtors propose to pay Critical Vendor Claims subject to the

agreement of each individual Critical Vendor to Customary Trade Terms or Minimum Credit

Terms that vary from Customary Trade Terms. To ensure that each Critical Vendor deals with

the Debtors on either Customary Trade Terms or Minimum Trade Terms, the Debtors will

require each Critical Vendor execute a Trade Agreement.

           5.          On November 6, 2018, the Court entered the Interim Order (I) Authorizing the

Debtors to (A) Pay Certain Prepetition Wages, Benefits and Other Compensation, and (B)

Continue Employee Compensation and Employee Benefits Programs, and (II) Granting Related

Relief [Docket No. 46] (the “Interim Wages Order”) and the Interim Order (I) Authorizing the

Debtors to Pay or Honor Prepetition Obligations to Certain Critical Vendors and (II)

Authorizing Banks to Honor and Process Checks and Transfers Related to Such Critical Vendors

Obligations [Docket No. 43].

           6.          The Interim Wages Order provided, among other things, that “[t]he Debtors are

authorized to pay the Employee Obligations and/or honor their wage and benefit obligations . . .

including amounts owing as of the Petition Date on account of: (a) the Payroll Processor; (b)

Employee Compensation and Reimbursement of Expenses; (c) the Per Required Need

Employees;[4] (d) Deductions and Payroll Taxes; (e) IRS payment plan; and (f) the Employee

Benefits, to the extent such payments do not violate the priority cap in sections 507(a)(4)


4
 This term is not defined in the Motion and the Committee reserves all rights with respect to payments on account
of Per Required Need Employees.



DOCS_DE:222108.1 72551/002
                                                4
                     Case 18-12491-CSS        Doc 170     Filed 11/29/18     Page 5 of 10



and 507(a)(5) of the Bankruptcy Code, as set forth in the Motion and as provided herein.”

Interim Wages Order, ¶ 2 (emphasis added).

                                                 OBJECTION

     I.          The Debtors Should Not Be Authorized to Pay Employee Compensation or
                 Employee Benefits Above the Payment Caps Provided in the Bankruptcy Code

           7.          Section 507(a) of the Bankruptcy Code provides a list of expenses and claims that

are afforded priority. Section 507(a)(4) provides a fourth priority to allowed unsecured claims

for wages, salaries, or commissions, including vacation, severance, and sick leave pay earned by

an individual, “but only to the extent of $12,850 for each individual . . . earned within 180 days

before the date of the filing of the petition or the date of the cessation of the debtor’s business,

whichever occurs first” (the “Wages Cap”). 11 U.S.C. § 507(a)(4). Similarly, section 507(a)(5)

provides a fifth priority to allowed unsecured claims for contributions to an employee benefit

plan arising from services rendered within 180 days before the date of the filing of the petition or

the date of the cessation of the debtor’s business, whichever occurs first; but only “for each such

plan, to the extent of—(i) the number of employees covered by each such plan multiplied by

$12,850; less (ii) the aggregate amount paid to such employee under [11 U.S.C. § 507(a)(4)],

plus the aggregate amount paid by the estate on behalf of such employees to any other employee

benefit plan” (the “Benefits Cap,” and together with the Wages Cap, the “Priority Caps”). 11

U.S.C. § 507(a)(5).

           8.          The Committee does not object to the Debtors’ request to pay the outstanding

Employee Obligations up to the relevant Priority Caps. However, the Motion goes beyond this

and requests authorization to pay all outstanding Employee Obligations, including amounts

above the Priority Caps. The Debtors have informed the Committee that Paid Time Off will be

subject to the Wages Cap. As set forth below, the proposed final order should thus be modified



DOCS_DE:222108.1 72551/002
                                                5
                     Case 18-12491-CSS        Doc 170       Filed 11/29/18        Page 6 of 10



to specifically reference the Priority Caps with respect to Paid Time Off. Further, the Debtors

have not agreed to limit the Wages, amounts owing under Incentive Programs, and Employee

Benefits to the relevant Priority Caps. These payments should also be subject to the Priority

Caps established in the Bankruptcy Code and the proposed final order should be amended

accordingly, as set forth below.

           9.          The Motion makes clear that “the majority of the unpaid Employee Obligations

[are entitled to] priority treatment” under sections 507(a)(4) and 507(a)(5) of the Bankruptcy

Code. As such, the Debtors will be able to pay most of the outstanding Employee Obligations

without upsetting the priority scheme established by the Bankruptcy Code, which seeks to

protect both employees and the Debtors’ other unsecured creditors. Since most outstanding

Employee Obligations are entitled to priority treatment and thus the Debtors will be authorized to

pay such amounts, neither the Debtors’ employees nor its estates will be harmed by limiting such

payments to the Priority Caps. See Wages Motion, ¶ 39.

           10.         As noted above, the Interim Wage Order recognizes that employees should not be

entitled to amounts above the Priority Caps. As such, it provides that “[t]he Debtors are

authorized to pay the Employee Obligations and/or honor their wage and benefit obligations . . .

including amounts owing as of the Petition Date on account of: (a) the Payroll Processor; (b)

Employee Compensation and Reimbursement of Expenses; (c) the Per Required Need

Employees;[5] (d) Deductions and Payroll Taxes; (e) IRS payment plan; and (f) the Employee

Benefits, to the extent such payments do not violate the priority cap in sections 507(a)(4)

and 507(a)(5) of the Bankruptcy Code, as set forth in the Motion and as provided herein.”

Interim Wages Order, ¶ 2 (emphasis added). The language in bold in the foregoing sentence (the

5
 This term is not defined in the Motion and the Committee reserves all rights with respect to payments on account
of Per Required Need Employees.



DOCS_DE:222108.1 72551/002
                                                6
                     Case 18-12491-CSS        Doc 170     Filed 11/29/18     Page 7 of 10



“Priority Cap Language”) is not included in the proposed form of final order attached to the

Wages Motion and thus the Committee requests the addition of the Priority Cap Language in the

final order.

           11.         The Committee also requests that the Priority Cap Language be clarified to make

clear that it applies to payment of obligations included in sections (a) through (f), rather than just

to the payment of Employee Benefits in section (f). The Priority Cap Language should be

therefore be revised as follows (revisions in bold): “ . . . to the extent such forgoing payments in

sections (a) through (f) do not violate the priority caps in sections 507(a)(4) and 507(a)(5) of the

Bankruptcy Code, as applicable . . .”

           12.         The Committee also requests the addition of the following language to the

currently proposed final order, as indicated in bold below:

                     “Except as otherwise provided herein, and subject to the priority caps in
                      sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code, the Debtors are
                      authorized to make payments on account of Employee Obligations in accordance
                      with the Debtors’ ordinary course of business and stated policies, as set forth in
                      the Motion.” Proposed Final Order, ¶ 3.

                     The Debtors are authorized to continue to honor their Employee Benefits, make
                      necessary contributions to such programs, and pay any unpaid premium, claim,
                      or amount owed in connection therewith as of the Petition Date, subject to the
                      priority caps in sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code, in
                      accordance with the Debtors’ ordinary course of business and stated policies as
                      set forth in the Motion. Proposed Final Order, ¶ 5.


           13.         Further, the Debtors have informed the Committee that Dr. Posternack is not

eligible to receive any payments under the Incentive Programs. The Committee agrees with the

Debtors and reserves all rights with respect to the Debtors’ motion seeking approval of a Key

Employee Incentive Program with respect to Dr. Posternack [Docket No. 106].




DOCS_DE:222108.1 72551/002
                                                7
                     Case 18-12491-CSS         Doc 170     Filed 11/29/18    Page 8 of 10



     II.         The Debtors Should Not Be Authorized to Pay the IRS Pre-Petition Claim

           14.         The Wages Motion provides that “[t]he Debtors owe certain amounts to the IRS

and have been paying them off through a payment plan with certain taxing authorities. As of the

Petition Date, the Debtors owe an estimated $222,000 for the payment obligation due in October

2018 to the taxing authorities, and, as of September 30, 2018, $6 million remains owing to the

taxing authorities.” Wages Motion, ¶ 32. The Committee understands that the origin of the IRS

Claim is defalcation with respect to withholding taxes. The Debtors informed the Committee

that the IRS Claim is secured by liens on certain properties of one or more Debtors. However,

the Debtors have not provided the Committee or this Court with the underlying agreement with

IRS. Similarly, the Debtors have not provided any evidence of the alleged liens nor has the

Committee had an opportunity to investigate the extent, validity or priority of such alleged liens.

In addition, the Debtors informed the Committee that certain parties received an indemnification

with respect to the IRS Claim from one or more Debtors secured by mortgages against certain of

the Debtors’ properties. The Committee has likewise not had an opportunity to investigate such

indemnifications and the validity or enforceability thereof.

           15.         Further, the Debtors have not provided any case law or basis for paying the

prepetition IRS Claim outside of a chapter 11 plan. The “doctrine of necessity” or any similar

doctrine should not apply to payment of the IRS Claim, as the doctrine of necessity is reserved

for instances where post-petition payment of a pre-petition claim is “essential to the continued

operation” of the debtor. In re Lehigh & New England Ry. Co., 657 F. 2d 570, 581 (3d Cir.

1981) (“[T]he ‘necessity of payment’ doctrine [provides that] if payment of a claim which arose

prior to reorganization is essential to the continued operation . . . during reorganization, payment

may be authorized even if it is made out of corpus.”). The Debtors have not demonstrated that

payment of the IRS Claim is essential to the Debtors’ reorganization or is otherwise authorized


DOCS_DE:222108.1 72551/002
                                                 8
                     Case 18-12491-CSS         Doc 170     Filed 11/29/18     Page 9 of 10



to be paid pursuant to the contours of the Bankruptcy Code. Accordingly, the Committee

objects to the Debtors making payments in satisfaction of its IRS payment plan pursuant to the

Wages Motion.

     III.         The Final Critical Vendor Order Should Provide the Committee Notice and
                  Objection Rights With Respect to Certain Critical Vendor Payments

            16.        On November 18, 2018, the Committee requested that the Debtors include the

following language (the “Proposed Language”) in the final order with respect to the Critical

Vendor Motion:

            The Debtors shall provide notice (the “Notice”) to the counsel for the Committee
            which may be provided by electronic mail, before making a payment to a Critical
            Vendor under this Order when such proposed payment exceeds $50,000. The
            Notice shall identify (1) the proposed Critical Vendor; (2) the Debtor(s) against
            which the proposed Critical Vendor is asserting a claim; (3) the amount of the
            proposed Critical Vendor claim; (4) the basis for the Critical Vendor claim,
            including the amount of such claim that is entitled to priority under section
            503(b)(9) of the Bankruptcy Code and the amount that is a general unsecured
            claim; (5) whether the Debtor(s) is/are providing a waiver under section 547 of
            the Bankruptcy Code; and (6) any other information reasonably requested by the
            Committee. The Committee shall have through 5:00 p.m., prevailing Eastern
            Time, on the third (3rd) business day after receipt of such Notice (the “Review
            Period”) to review the proposed payment and to notify the Debtors in writing,
            which may be by electronic mail, of any issues (the “Issues”) with respect to such
            proposed payment. If the Committee does not notify the Debtors of any Issues by
            the expiration of the Review Period, or if the Committee consents to the proposed
            payment of the Critical Vendor claim before expiration of the Review Period, the
            Debtors shall be permitted to pay the Critical Vendor as proposed, subject to the
            terms of this Order. If the Committee timely notifies the Debtors of the Issues
            with respect to any proposed Critical Vendor payment (a “Questioned Payment”)
            prior to the expiration of the Review Period, then the Debtors shall not pay such
            Questioned Payment without the Committee’s consent or without further order of
            this Court, which the Debtors and the Committee shall seek to have heard at the
            next scheduling hearing or otherwise on an expedited basis.

            17.        The Debtors did not agree to include such language in the final order. Instead, the

Debtors stated they would provide the Committee with a copy of the already executed Trade

Agreements, without any opportunity for the Committee to review and object, if necessary, to the

Critical Vendor payments. The addition of the Proposed Language to the final order will ensure


DOCS_DE:222108.1 72551/002
                                                 9
                    Case 18-12491-CSS         Doc 170      Filed 11/29/18    Page 10 of 10



proper oversight of the Critical Vendor payment process, thus maximizing value for the Debtors’

estates.

                                        RESERVATION OF RIGHTS

           18.         The Committee reserves the right to raise further and other objections to the

Wages Motion and Critical Vendor Motion prior to or at the hearings thereon based upon its

continuing discussions with the Debtors and any discovery to be conducted herein.


           WHEREFORE, the Committee respectfully requests that the Court deny the Motion as

described herein.

Dated: November 29, 2018                              PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ Bradford J. Sandler
                                                      Jeffrey N. Pomerantz, Esq.
                                                      Bradford J. Sandler, Esq.
                                                      Colin R. Robinson, Esq.
                                                      919 N. Market Street, 17th Floor
                                                      Wilmington, DE 19801
                                                      Telephone: (302) 652-4100
                                                      Facsimile: (302) 652-4400
                                                      E-mail: jpomerantz@pszjlaw.com
                                                               bsandler@pszjlaw.com
                                                               crobinson@pszjlaw.com

                                                      - and –

                                                      Andrew H. Sherman
                                                      Boris I. Mankovetskiy
                                                      Rachel E. Brennan
                                                      SILLS CUMMIS & GROSS P.C.
                                                      One Riverfront Plaza
                                                      Newark, NJ 07102
                                                      Telephone: 973-643-7000
                                                      Facsimile: 973-643-6500
                                                      Email: asherman@sillscummis.com
                                                              bmankovetskiy@sillscummis.com
                                                              rbrennan@sillscummis.com

                                                      Proposed Counsel to the Official Committee of
                                                      Unsecured Creditors


DOCS_DE:222108.1 72551/002
                                                 10
